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                 THE WATER QUALITY CONTROL PLAN (BASIN PLAN)

                                                 FOR THE

            CALIFORNIA REGIONAL WATER QUALITY CONTROL BOARD

                                    CENTRAL VALLEY REGION

                                             FIFTH EDITION
                          Revised May 2018 (with Approved Amendments)

                            THE SACRAMENTO RIVER BASIN AND
                              THE SAN JOAQUIN RIVER BASIN




            CALIFORNIA REGIONAL WATER QUALITY CONTROL BOARD
                         CENTRAL VALLEY REGION


                                        Karl E. Longley, Chair
                                      Denise Kadara, Vice-Chair
                                       Jon Costantino, Member
                                     Carmen L. Ramirez, Member
                                    Robert (Bob) Schneider, Member
                                           Raji Brar, Member
                                      Daniel B. Marcum, Member


                                 Pamela C. Creedon, Executive Officer
                                 Pa


                                         COVER PHOTO ACKNOWLEDGMENTS:
Rafting the American River: Rapid Shooters, Lotus CA      Sunset Waterfowl: David Rosen/ Ducks Unlimited
Yosemite: David Rosen/ Ducks Unlimited                    Sugar Beets: Brenda Grewell/ Dept. of Water Resource




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    Basin plan amendments adopted by the Regional Central Valley Water Board must be approved
    by the State Water Board and the Office of Administrative Law before becoming effective. If the
    amendment involves adopting or revising a standard which relates to surface waters it must also
    be approved by the U.S. Environmental Protection Agency (USEPA) before becoming effective.
    However, standards revisions disapproved by USEPA prior to 30 May 2000 remain in effect until
    they are revised by the basin planning process, or USEPA promulgates its own rule to
    supersede the standard revision [40 CFR Section 131.21(c)]

    Each version of the Basin Plan includes all amendments that are in effect as of the date of the
    version. It is the intent of the Central Valley Water Board to release updated editions of the
    Basin Plan as soon as adopted amendments are approved and in effect

    The following are all the amendments adopted by the Regional Water Board since 1975, that
    are now in effect:


                                                         Date Adopted   Regional Board     Date in
                    Subject
                                                         By Reg. Bd.    Resolution No.     Effect

1. Adopting Water Quality Control Plans for              7/25/1975      R5-1975-0185       8/21/1975
   Sacramento River Basin, Sacramento-San
   Joaquin Delta Basin, San Joaquin River
   Basin and Tulare Lake Basin

2. Revision and Amendment of the Water                   11/21/1975     R5-1975-0272       1/22/1976
   Quality Control Plan, Sacramento River
   Basin, by the Addition of a Prohibition of
   Waste Discharge from Leaching and
   Percolation Systems within the Adin
   Community Services District, Modoc County

3. Revision and Amendment of the Water                   11/21/1975     R5-1975-0273       1/22/1976
   Quality Control Plan, Sacramento River
   Basin, by the Addition of a Prohibition of
   Waste Discharge from Leaching and
   Percolation Systems within the Community of
   Fall River Mills, a portion of the Fall River
   Mills Community Services District,
   Shasta County

4. Revision and Amendment of the Water                   11/21/1975     R5-1975-0274       1/22/1976
   Quality Control Plan, Sacramento River
   Basin, by the Addition of a Prohibition of
   Waste Discharge from Leaching and
   Percolation Systems within the Bell Road
   Community (including Panorama and Pearl
   Subdivisions) Auburn, Placer County




    Amendments to the Water Quality Control Plan for the
    Sacramento River and San Joaquin River Basins                                          May 2018
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                                                        Date Adopted   Regional Board   Date in
                    Subject
                                                        By Reg. Bd.    Resolution No.   Effect


5. Revision and Amendment of the Water                  2/27/1976      R5-1976-0058     4/15/1976
   Quality Control Plan, Sacramento River
   Basin, by the Addition of a Prohibition of
   Waste Discharge from Leaching and
   Percolation Systems within the Communities
   of Nice and Lucerne, Lake County

6. Revision and Amendment of the Water                  2/27/1976      R5-1976-0059     4/15/1976
   Quality Control Plan, Sacramento-San
   Joaquin Delta Basin, by the Addition of a
   Prohibition of Waste Discharge from
   Leaching and Percolation Systems within the
   Courtland Sanitation District,
   Sacramento County

7. Revision and Amendment of the Water                  2/27/1976      R5-1976-0060     4/15/1976
   Quality Control Plan, San Joaquin River
   Basin, by the Addition of a Prohibition of
   Waste Discharge from Leaching and
   Percolation Systems within Six-Mile Village,
   Calaveras County

8. Revision and Amendment of the Water                  3/26/1976      R5-1976-0089     5/20/1976
   Quality Control Plan, Sacramento River
   Basin, by the Addition of a Prohibition of
   Waste Discharge from Leaching and
   Percolation Systems within the Communities
   of Clearlake Highlands and Clearlake Park,
   Lake County

9. Revision and Amendment of the Water                  5/28/1976      R5-1976-0129     8/19/1976
   Quality Control Plan, Sacramento River
   Basin, by the Addition of a Prohibition of
   Waste Discharge from Leaching and
   Percolation Systems within the Taylorville
   County Service Area, Plumas County

10. Revision and Amendment of the Water                 9/24/1976      R5-1976-0215     4/21/1977
    Quality Control Plan, Sacramento River
    Basin, by the Addition of a Prohibition of
    Waste Discharge from Leaching and
    Percolation Systems within the Community of
    South Lakeshore Assessment District,
    Lake County



    Amendments to the Water Quality Control Plan for the
    Sacramento River and San Joaquin River Basins                                       May 2018
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                                                         Date Adopted   Regional Board   Date in
                     Subject
                                                         By Reg. Bd.    Resolution No.   Effect


11. Revision and Amendment of the Water                  10/22/1976     R5-1976-0230     1/20/1977
    Quality Control Plan, Sacramento River
    Basin, by the Addition of a Prohibition of
    Waste Discharge from Leaching and
    Percolation Systems within the Anderson-
    Cottonwood Irrigation District, Community of
    Cottonwood, Shasta County

12. Revision and Amendment of the Water                  10/22/1976     R5-1976-0231     1/20/1977
    Quality Control Plan, Sacramento River
    Basin, by the Addition of a Prohibition of
    Waste Discharge from Leaching and
    Percolation Systems within the Daphnedale
    Area, Modoc County

13. Amending the Water Quality Control Plan for          12/17/1976     R5-1976-0262     2/17/1977
    Sacramento River Basin, Sacramento-San
    Joaquin Delta Basin, and San Joaquin River
    Basin

14. Amending the Water Quality Control Plan for          5/27/1977      R5-1977-0097     7/21/1977
    Removal of Waste Discharge Prohibition for
    Woods Creek, Tuolumne County

15. Adoption of Amendments to the Water                  6/22/1979      R5-1979-0149     8/16/1979
    Quality Control Plan

16. Adoption of Amendments to the Water                  7/27/1979      R5-1979-0180     8/16/1979
    Quality Control Plan

17. Adoption of Amendments to the Water                  9/28/1979      R5-1979-0220     10/18/1979
    Quality Control Plan for Groundwater
    Management in N.E. Fresno County and
    Surface Water Runoff Management in Solano
    County




    Amendments to the Water Quality Control Plan for the
    Sacramento River and San Joaquin River Basins                                        May 2018
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                                                        Date Adopted   Regional Board   Date in
                    Subject
                                                        By Reg. Bd.    Resolution No.   Effect


18. Adoption of Amendments to the Water                 12/14/1979     R5-1979-0255     2/21/1980
    Quality Control Plan for Wastewater
    Management in the Communities of Paradise
    and Magalia in Butte County and Erosion
    Control and Creek Bed Management in Lake
    County and Wastewater Management in the
    Lake Yosemite Area of Merced County and
    Erosion Control and Wastewater
    Management in Mariposa County

19. Adoption of Amendments to the Water                 12/5/1980      R5-1980-0219     2/19/1981
    Quality Control Plan for Best Management
    Practices for Control of Erosion from Land
    Development Activities in Shasta County and
    Best Management Practices for Control of
    Erosion and Use of Individual Wastewater
    Disposal Systems in Nevada County

20. Amending the Water Quality Control Plan for         1/28/1983      R5-1983-0018     4/21/1983
    Removal of Waste Discharge Prohibition for
    Jackson Creek above Jackson Creek
    Reservoir, Amador County

21. Adoption of an Amendment to Part I of the           8/12/1983      R5-1983-0105     12/15/1983
    Water Quality Control Plans for the
    Sacramento River, Sacramento-San Joaquin
    Delta, San Joaquin River, and Tulare Lake
    Basins for Land Disposal of Stillage Waste
    from Wineries

22. Amending the Water Quality Control Plan for         10/28/1983     R5-1983-0135     3/15/1984
    Guidelines for Protection of Water Quality
    During Construction and Operation of Small
    Hydro Projects

23. Amending the Water Quality Control Plan for         4/27/1984      R5-1984-0054     8/16/1984
    Water Quality Objectives for Copper (Cu),
    Zinc (Zn) and Cadmium (Cd) in the Upper
    Sacramento River Basin




    Amendments to the Water Quality Control Plan for the
    Sacramento River and San Joaquin River Basins                                       May 2018
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                                                           Date Adopted   Regional Board   Date in
                     Subject
                                                           By Reg. Bd.    Resolution No.   Effect


24. Revision and Amendment of the Water                    10/27/1988     R5-1988-0177     10/19/1989
    Quality Control Plan, Sacramento River
    Basin, by the Addition of Prohibition of Waste
    Discharge from Individual Disposal Systems
    in the Chico Urban Area, Butte County

25. Adoption of Amendments to the Water                    12/8/1988      R5-1988-0195     9/21/1989
    Quality Control Plan for the San Joaquin
    River Basin

26. Amendment of the Water Quality Control                 3/31/1989      R5-1989-0056     3/22/1990
    Plan for the Sacramento River, Sacramento-
    San Joaquin Delta, and San Joaquin Basins

27. Amendment of the Water Quality Control                 1/26/1990      R5-1990-0028     2/15/1990
    Plan for the Sacramento River, Sacramento-
    San Joaquin Delta, and San Joaquin Basins

28. Revision of the Water Quality Control Plan,            4/27/1990      R5-1990-0126     7/19/1990
    Sacramento River Basin, by the Addition of
    Prohibition of Waste Discharge from
    Individual Disposal Systems in the Chico
    Urban Area, Butte County

29. Water Quality Control Plan Amendment for               11/22/1991     R5-1991-0207     5/18/1992
    City of West Sacramento Wet Weather
    Municipal Waste Discharge, Yolo County

30. Amendment of the Water Quality Control                 12/9/1994      R5-1994-0380     5/9/1995
    Plan for the Sacramento River, Sacramento-
    San Joaquin Delta, and San Joaquin Basins

31. Amending the Water Quality Control Plan for            5/26/1995      R5-1995-0142     9/25/1995
    the Sacramento River and San Joaquin River
    Basins to include Compliance Schedules

32. Amending the Water Quality Control Plan for            5/3/1996       R5-1996-0147     1/10/1997
    the Sacramento River and San Joaquin River
    Basins to Address the Control of Agricultural
    Subsurface Drainage




    Amendments to the Water Quality Control Plan for the
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33. Adoption of Site Specific Water Quality               7/19/2002      R5-2002-0127     10/21/2003
    Objectives for pH and Turbidity for Deer
    Creek in El Dorado County

34. Adoption of Corrective Language Adoption of           9/6/2002       R5-2002-0151     1/27/2004
    a Control Program for Mercury in Clear Lake,
    including COMM use for Clear Lake and
    Mercury Objectives for Fish Tissue

35. Adoption of a Control Program for Mercury in          12/6/2002      R5-2002-0207     10/2/2003
    Clear Lake, including COMM use for Clear
    Lake and Mercury Objectives for Fish Tissue

36. Adoption of a Control Program for Orchard             10/16/2003     R5-2003-0148     8/11/2004
    Pesticide Runoff and Diazinon Runoff into the
    Sacramento and Feather Rivers, including
    Site-Specific Water Quality Objectives for
    Diazinon

37. Adoption of Site Specific Temperature                 1/31/2003      R5-2003-0006
    Objectives for Deer Creek in El Dorado and            9/16/2005      R5-2005-0119     5/17/2006
    Sacramento Counties

38. Amendment for the Control of Salt and Boron           9/10/2004      R5-2004-0108     7/28/2006
    Discharges into the Lower San Joaquin River

39. Amendment to De-Designate Four Beneficial             4/28/2005      R5-2005-0053     8/7/2006
    Uses of Old Alamo Creek, Solano County

40. Amendment for the Control Program for                 1/27/2005      R5-2005-0005     8/23/2006
    Factors Contributing to the Dissolved Oxygen
    Impairment in the Stockton Deep Water Ship
    Channel

41. Amendment for the Control of Diazinon and             10/21/2005     R5-2005-0138     12/20/2006
    Chlorpyrifos Runoff into the San Joaquin
    River

42. Amendment for the Control of Mercury in               10/21/2005     R5-2005-0146     2/6/2007
    Cache creek, Bear Creek, Sulphur Creek and
    Harley Gulch




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43. Amendment for the Control of Nutrients in                   6/23/2006           R5-2006-0060          7/12/2007
    Clear Lake

44. Amendment for the Control of Diazinon and                   6/23/2006           R5-2006-0061          10/10/2007
    Chlorpyrifos Runoff into the Sacramento-San
    Joaquin Delta

45. Amendment for the Control of Diazinon and                   5/3/2007            R5-2007-0034          8/11/2008
    Chlorpyrifos Runoff into the Sacramento and
    Feather Rivers

46. Amendment to Revise Water Quality                           10/25/2007          R5-2007-0136          7/7/2009
    Objectives for pH and Turbidity

47. Amendment to Determine Certain Beneficial                   3/16/2007           R5-2007-0021          9/4/2009
    Uses are not Applicable and Establish Water
    Quality Objectives in Sulphur Creek, Colusa
    County

48. Non-Regulatory Amendments to Correct                        8/13/2009           R5-2009-0069          5/18/2011
    Editing Errors and Update Language

49. Amendments to Control Methylmercury and                     4/22/2010           R5-2010-0043          10/20/2011
    Total Mercury in the Sacramento-San
    Joaquin Delta Estuary

50. Non-Regulatory Amendments to Provide a                      10/13/2011          R5-2011-0075          12/14/2012
    Cost Estimate and Potential Sources of
    Financing for a Long-Term Irrigated Lands
    Program

                                                                                                                     *
51. Amendments to Establish Site-Specific Water                 5/27/2010           R5-2010-0047          4/9/2013
    Quality Objectives for Chloroform,
    Chlorodibromomethane, and
    Dichlorobromomethane for New Alamo and
    Ulatis Creeks, Solano County, and Permit
    Implementation Provisions

52. Amendments for the Control of Selenium in                   5/27/2010           R5-2010-0046          11/7/2013
    the Lower San Joaquin River Basin



    *
      For R5-2010-0047, U.S. Environmental Protection Agency specifically did not approve the implementation
    provisions.

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                                         I    Foreword to the Fourth Edition (1998)

The preparation and adoption of water quality control plans (Basin Plans) is required by the
California Water Code (Section 13240) and supported by the Federal Clean Water Act. Section
303 of the Clean Water Act requires states to adopt water quality standards which "consist of
the designated uses of the navigable waters involved and the water quality criteria for such
waters based upon such uses." According to Section 13050 of the California Water Code, Basin
Plans consist of a designation or establishment for the waters within a specified area of
beneficial uses to be protected, water quality objectives to protect those uses, and a program of
implementation needed for achieving the objectives. State law also requires that Basin Plans
conform to the policies set forth in the Water Code beginning with Section 13000 and any state
policy for water quality control. Since beneficial uses, together with their corresponding water
quality objectives, can be defined per federal regulations as water quality standards, the Basin
Plans are regulatory references for meeting the state and federal requirements for water quality
control (40 CFR 131.20). One significant difference between the state and federal programs is
that California's basin plans establish standards for ground waters in addition to surface waters.

Basin Plans are adopted and amended by Regional Water Boards under a structured process
involving full public participation and state environmental review. Basin Plans and amendments
thereto, do not become effective until approved by the State Water Resources Control Board
(State Water Board). Regulatory provisions must be approved by the Office of Administrative
Law. Adoption or revision of surface water standards are subject to the approval of the U.S.
Environmental Protection Agency.

Basin Plans complement water quality control plans adopted by the State Water Board, such as
the Water Quality Control Plans for Temperature Control and Ocean Waters. It is the intent of
the State and Regional Water Boards to maintain the Basin Plans in an updated and readily
available edition that reflects the current water quality control program.

This Basin Plan covers the entire Sacramento and San Joaquin River Basins. A separate Basin
Plan covers the Tulare Lake Basin. The Basin Plan was first adopted in 1975. In 1989, a second
edition was published. The second edition incorporated all the amendments which were
adopted and approved since 1975, updated the Basin Plan to include new state policies and
programs, restructured and edited the Basin Plan for clarity, and incorporated the results of
triennial reviews conducted in 1984 and 1987. The Third Edition - 1994 incorporated all
amendments approved between 1989 and 1994, included new state policies and programs,
edited and restructured the Basin Plan to make it consistent with other regional and state plans,
and substantively amended sections dealing with beneficial uses, objectives, and
implementation programs. The current edition (Fourth Edition - 1998) incorporates two new
amendments approved since 1994. One amendment deals with compliance schedules in
permits and the other addresses agricultural subsurface drainage discharges.

In this Basin Plan, "Regional Water Board" refers to the Central Valley Regional Water Quality
Control Board and "State Water Board" refers to the State Water Resources Control Board.




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                                                                        1    INTRODUCTION

                                1.1     BASIN DESCRIPTION
This Basin Plan covers the entire area included in the Sacramento and San Joaquin River
drainage basins (see maps in pocket * and Figure 2-1). The basins are bound by the crests of
the Sierra Nevada on the east and the Coast Range and Klamath Mountains on the west. They
extend some 400 miles from the California - Oregon border southward to the headwaters of the
San Joaquin River.

*NOTE: The planning boundary between the San Joaquin River Basin and the Tulare Lake
Basin follows the southern watershed boundaries of the Little Panoche Creek, Moreno Gulch,
and Capita Canyon to boundary of the Westlands Water District. From here, the boundary
follows the northern edge of the Westlands Water District until its intersection with the Firebaugh
Canal Company’s Main Lift Canal. The basin boundary then follows the Main Lift Canal to the
Mendota Pool and continues eastward along the channel of the San Joaquin River to the
southern boundary of the Little Dry Creek watershed (Hydrologic Subareas No. 540.70 and
545.30) and then follows along the southern boundary of the San Joaquin River drainage basin.

The Sacramento River and San Joaquin River Basins cover about one fourth of the total area of
the State and over 30% of the State's irrigable land. The Sacramento and San Joaquin Rivers
furnish roughly 51% of the State's water supply. Surface water from the two drainage basins
meet and form the Delta, which ultimately drains to San Francisco Bay. Two major water
projects, the Federal Central Valley Project and the State Water Project, deliver water from the
Delta to Southern California, the San Joaquin Valley, Tulare Lake Basin, the San Francisco Bay
area, as well as within the Delta boundaries.

The Delta is a maze of river channels and diked islands covering roughly 1,150 square miles,
including 78 square miles of water area. The legal boundary of the Delta is described in Section
12220 of the Water Code (also see Figure 3-1 of this Basin Plan).

Ground water is defined as subsurface water that occurs beneath the ground surface in fully
saturated zones within soils and other geologic formations. Where ground water occurs in a
saturated geologic unit that contains sufficient permeability and thickness to yield significant
quantities of water to wells or springs, it can be defined as an aquifer (USGS, Water Supply
Paper 1988, 1972). A ground water basin is defined as a hydrogeologic unit containing one
large aquifer or several connected and interrelated aquifers (Todd, Groundwater Hydrology,
1980).

Major ground water basins underlie both valley floors, and there are scattered smaller basins in
the foothill areas and mountain valleys. In many parts of the Region, usable ground waters
occur outside of these currently identified basins. There are water-bearing geologic units within
ground water basins in the Region that do not meet the definition of an aquifer. Therefore, for
basin planning and regulatory purposes, the term "ground water" includes all subsurface waters
that occur in fully saturated zones and fractures within soils and other geologic formations,
whether or not these waters meet the definition of an aquifer or occur within identified ground
water basins.

1.1.1      Sacramento River Basin
The Sacramento River Basin covers 27,210 square miles and includes the entire area drained
by the Sacramento River. For planning purposes, this includes all watersheds tributary to the
Sacramento River that are north of the Cosumnes River watershed. It also includes the closed
basin of Goose Lake and drainage sub-basins of Cache and Putah Creeks.

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The principal streams are the Sacramento River and its larger tributaries: the Pit, Feather, Yuba,
Bear, and American Rivers to the east; and Cottonwood, Stony, Cache, and Putah Creeks to
the west. Major reservoirs and lakes include Shasta, Oroville, Folsom, Clear Lake, and Lake
Berryessa.

DWR Bulletin 118-80 identifies 63 ground water basins in the Sacramento watershed area. The
Sacramento Valley floor is divided into 2 ground water basins. Other basins are in the foothills
or mountain valleys. There are areas other than those identified in the DWR Bulletin with ground
waters that have beneficial uses.

1.1.2      San Joaquin River Basin
The San Joaquin River Basin covers 15,880 square miles and includes the entire area drained
by the San Joaquin River. It includes all watersheds tributary to the San Joaquin River and the
Delta south of the Sacramento River and south of the American River watershed. The southern
planning boundary is described in the first paragraph of the previous page.

The principal streams in the basin are the San Joaquin River and its larger tributaries: the
Cosumnes, Mokelumne, Calaveras, Stanislaus, Tuolumne, Merced, Chowchilla, and Fresno
Rivers. Major reservoirs and lakes include Pardee, New Hogan, Millerton, McClure, Don Pedro,
and New Melones.

DWR Bulletin 118-80 identifies 39 ground water basins in the San Joaquin watershed area. The
San Joaquin Valley floor is divided into 15 separate ground water basins, largely based on
political considerations. Other basins are in the foothills or mountain valleys. There are areas
other than those identified in the DWR Bulletin with ground waters that have beneficial uses.

1.1.2.1    Grassland Watershed

The Grassland watershed is a valley floor sub-basin of the San Joaquin River Basin. The
portion of the watershed for which agricultural subsurface drainage policies and regulations
apply covers an area of approximately 370,000 acres and is bounded on the north by the
alluvial fan of Orestimba Creek and by the Tulare Lake Basin to the south. The San Joaquin
River forms the eastern boundary and Interstate Highway 5 forms the approximate western
boundary. The San Joaquin River forms a wide flood plain in the region of the Grassland
watershed.

The hydrology of the watershed has been irreversibly altered due to water projects and is
presently governed by land uses. These uses are primarily, managed wetlands and agriculture.
The wetlands form important waterfowl habitat for migratory waterfowl using the Pacific Flyway.
The alluvial fans of the western and southern portions of the watershed contain salts and
selenium which can be mobilized through irrigation practices and can impact beneficial uses of
surface waters and wetlands if not properly regulated.

1.1.2.2    Lower San Joaquin River Watershed and Subareas

Technical descriptions of the Lower San Joaquin River (LSJR) and its component subareas are
contained in Appendix 41. General descriptions follow: The LSJR watershed encompasses
approximately 4,580 square miles in Merced County and portions of Fresno, Madera, San
Joaquin, and Stanislaus counties. For planning purposes, the LSJR watershed is defined as the
area draining to the San Joaquin River downstream of the Mendota Dam and upstream of the
Airport Way Bridge near Vernalis, excluding the areas upstream of dams on the major Eastside
reservoirs: New Don Pedro, New Melones, Lake McClure, and similar Eastside reservoirs in the
LSJR system. The LSJR watershed excludes all lands within Calaveras, Tuolumne, San Benito,


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and Mariposa Counties. The LSJR watershed has been subdivided into seven major sub areas.
In some cases major subareas have been further subdivided into minor subareas to facilitate
more effective and focused water quality planning (Table 1-1).


           TABLE 1-1 LOWER SAN JOAQUIN RIVER SUBAREAS
                 Major Subareas               Minor Subareas
              LSJR upstream of Salt 1a    Bear Creek
           1
              Slough                1b    Fresno-Chowchilla
           2  Grasslands                            -- --
                                    3a    Northeast Bank
                                    3b    North Stanislaus
           3  East Valley Floor
                                    3c    Stevinson
                                    3d    Turlock Area
                                    4a    Greater Orestimba
           4  Northwest Side        4b    Westside Creeks
                                    4c    Vernalis North
           5  Merced River                          -- --
           6  Tuolumne River                        -- --
           7  Stanislaus River                      -- --

1. Lower San Joaquin River upstream of Salt Slough
This subarea drains approximately 1,480 square miles on the east side of the LSJR upstream of
the Salt Slough confluence. The subarea includes the portions of the Bear Creek, Chowchilla
River and Fresno River watersheds that are contained within Merced and Madera Counties. The
northern boundary of the subarea generally abuts the Merced River Watershed. The western
and southern boundaries follow the San Joaquin River from the Lander Avenue Bridge to Friant,
except for the lands within the Columbia Canal Company, which are excluded. Columbia Canal
Company lands are included in the Grassland Subarea. This subarea is composed of the
following drainage areas:

   1a. Bear Creek (effective drainage area)
   This minor subarea is a 620 square mile subset of lands within the LSJR upstream of Salt
   Slough Subarea. The Bear Creek Minor Subarea is predominantly comprised of the portion
   of the Bear Creek Watershed that is contained within Merced County.

   1b. Fresno-Chowchilla
   The Fresno-Chowchilla Minor Subarea is comprised of approximately 860 square miles of
   land within the southern portion of the LSJR upstream of Salt Slough Subarea. This minor
   subarea is located in southeastern Merced County and western Madera County and
   contains the land area that drains into the LSJR between Sack Dam and the Bear Creek
   confluence, including the drainages of the Fresno and Chowchilla Rivers.

2. Grassland
The Grassland Subarea drains approximately 1,370 square miles on the west side of the LSJR
in portions of Merced, Stanislaus, and Fresno Counties. This subarea includes the Mud Slough,
Salt Slough, and Los Banos Creek watersheds. The eastern boundary of this subarea is
generally formed by the LSJR between the Merced River confluence and the Mendota Dam.
The Grassland Subarea extends across the LSJR, into the east side of the San Joaquin Valley,
to include the lands within the Columbia Canal Company. The western boundary of the subarea


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generally follows the crest of the Coast Range with the exception of lands within San Benito
County, which are excluded.

3. East Valley Floor
This subarea includes approximately 413 square miles of land on the east side of the LSJR that
drains directly to the LSJR between the Airport Way Bridge near Vernalis and the Salt Slough
confluence. The subarea is largely comprised of the land between the major east-side
drainages of the Tuolumne, Stanislaus, and Merced Rivers. This subarea lies within central
Stanislaus County and north-central Merced County. Numerous drainage canals, including the
Harding Drain and natural drainages, drain this subarea. The subarea is comprised of the
following minor subareas:

   3a. Northeast Bank
   This minor subarea of the East Valley Floor contains all of the land draining the east side of
   the San Joaquin River between the Maze Boulevard Bridge and the Crows Landing Road
   Bridge, except for the Tuolumne River subarea. The Northeast Bank covers approximately
   123 square miles in central Stanislaus County.

   3b. North Stanislaus
   The North Stanislaus minor subarea is a subset of lands within the East Valley Floor
   Subarea. This minor subarea drains approximately 68 square miles of land between the
   Stanislaus and Tuolumne River watersheds that flows into the San Joaquin River between
   the Airport Way Bridge near Vernalis and the Maze Boulevard Bridge.

   3c. Stevinson
   This minor subarea of the East Valley Floor contains all of the land draining to the LSJR
   between the Merced River confluence and the Lander Avenue (Highway 165) Bridge. The
   Stevinson Minor Subarea occupies approximately 44 square miles in north-central Merced
   County.

   3d. Turlock Area
   This minor subarea of the East Valley Floor contains all of the land draining to the LSJR
   between the Crows Landing Road Bridge and the Merced River confluence. The Turlock
   Area Minor Subarea occupies approximately 178 square miles in south-central Stanislaus
   County and northern Merced County.

4. Northwest Side
This 574 square mile area generally includes the lands on the West side of the LSJR between
the Airport Way Bridge near Vernalis and the Newman Waste way confluence. This subarea
includes the entire drainage area of Orestimba, Del Puerto, and Hospital/Ingram Creeks. The
subarea is primarily located in Western Stanislaus County except for a small area that extends
into Merced County near the town of Newman and the Central California Irrigation District Main
Canal.

   4a. Greater Orestimba
   The Greater Orestimba Minor Subarea is a 285 square mile subset of the Northwest Side
   Subarea located in southwest Stanislaus County and a small portion of western Merced
   County. It contains the entire Orestimba Creek watershed and the remaining area that
   drains into the LSJR from the west between the Crows Landing Road Bridge and the
   confluence of the Merced River, including Little Salad and Crow Creeks.

   4b. Westside Creeks
   This Minor Subarea is comprised of 277 square miles of the Northwest Side Subarea in
   western Stanislaus County. It consists of the areas that drain into the west side of the San

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   Joaquin River between Maze Boulevard and Crows Landing Road, including the drainages
   of Del Puerto, Hospital, and Ingram Creeks.

   4c. Vernalis North
   The Vernalis North Minor Subarea is a 12 square mile subset of land within the most
   northern portion of the Northwest Side Subarea. It contains the land draining to the San
   Joaquin River from the west between the Maze Boulevard Bridge and the Airport Way
   Bridge near Vernalis.

5. Merced River
This 294 square mile subarea is comprised of the Merced River watershed downstream of the
Merced-Mariposa county line and upstream of the River Road Bridge. The Merced River
subarea includes a 13-square-mile “island” of land (located between the East Valley Floor and
the Tuolumne River Subareas) that is hydrologically connected to the Merced River by the
Highline Canal.

6. Tuolumne River
This 294 square mile subarea is comprised of the Tuolumne River watershed downstream of
the Stanislaus-Tuolumne county line, including the drainage of Turlock Lake, and upstream of
the Shiloh Road Bridge.

7. Stanislaus River
This 157 square mile subarea is comprised of the Stanislaus River watershed downstream of
the Stanislaus-Calaveras county line and upstream of Caswell State Park.




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                             2 EXISTING AND POTENTIAL BENEFICIAL USES

Beneficial uses are critical to water quality management in California. State law defines
beneficial uses of California's waters that may be protected against quality degradation to
include (and not be limited to) "...domestic; municipal; agricultural and industrial supply; power
generation; recreation; aesthetic enjoyment; navigation; and preservation and enhancement of
fish, wildlife, and other aquatic resources or preserves" (Water Code Section 13050(f)).
Protection and enhancement of existing and potential beneficial uses are primary goals of water
quality planning.

Significant points concerning the concept of beneficial uses are:

1.      All water quality problems can be stated in terms of whether there is water of sufficient
        quantity or quality to protect or enhance beneficial uses.

2.      Beneficial uses do not include all of the reasonable uses of water. For example, disposal
        of wastewaters is not included as a beneficial use. This is not to say that disposal of
        wastewaters is a prohibited use of waters of the State; it is merely a use which cannot be
        satisfied to the detriment of beneficial uses. Similarly, the use of water for the dilution of
        salts is not a beneficial use although it may, in some cases, be a reasonable and
        desirable use of water.

3.      The protection and enhancement of beneficial uses require that certain quality and
        quantity objectives be met for surface and ground waters.

4.      Fish, plants, and other wildlife, as well as humans, use water beneficially.

Beneficial use designation (and water quality objectives, see Chapter 3, or variance of a water
quality standard, see Chapter 4) must be reviewed at least once during each three-year period
for the purpose of modification as appropriate (40 CFR 131.20).

The beneficial uses, and abbreviations, listed below are standard basin plan designations.

Municipal and Domestic Supply (MUN) - Uses of water for community, military, or individual
water supply systems including, but not limited to, drinking water supply.

Agricultural Supply (AGR) - Uses of water for farming, horticulture, or ranching including, but
not limited to, irrigation (including leaching of salts), stock watering, or support of vegetation for
range grazing.

Industrial Service Supply (IND) - Uses of water for industrial activities that do not depend
primarily on water quality including, but not limited to, mining, cooling water supply, hydraulic
conveyance, gravel washing, fire protection, or oil well repressurization.

Industrial Process Supply (PRO) - Uses of water for industrial activities that depend primarily
on water quality.

Ground Water Recharge (GWR) - Uses of water for natural or artificial recharge of ground water
for purposes of future extraction, maintenance of water quality, or halting of saltwater intrusion
into freshwater aquifers.




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Freshwater Replenishment (FRSH) - Uses of water for natural or artificial maintenance of
surface water quantity or quality.

Navigation (NAV) - Uses of water for shipping, travel, or other transportation by private,
military, or commercial vessels.

Hydropower Generation (POW) - Uses of water for hydropower generation.

Water Contact Recreation (REC-1) - Uses of water for recreational activities involving body
contact with water, where ingestion of water is reasonably possible. These uses include, but are
not limited to, swimming, wading, water-skiing, skin and scuba diving, surfing, white water
activities, fishing, or use of natural hot springs.

Non-contact Water Recreation (REC-2) - Uses of water for recreational activities involving
proximity to water, but where there is generally no body contact with water, nor any likelihood of
ingestion of water. These uses include, but are not limited to, picnicking, sunbathing, hiking,
beachcombing, camping, boating, tidepool and marine life study, hunting, sightseeing, or
aesthetic enjoyment in conjunction with the above activities.

Commercial and Sport Fishing (COMM) - Uses of water for commercial or recreational
collection of fish, shellfish, or other organisms including, but not limited to, uses involving
organisms intended for human consumption or bait purposes.

Aquaculture (AQUA) - Uses of water for aquaculture or mariculture operations including, but
not limited to, propagation, cultivation, maintenance, or harvesting of aquatic plants and animals
for human consumption or bait purposes.

Warm Freshwater Habitat (WARM) - Uses of water that support warm water ecosystems
including, but not limited to, preservation or enhancement of aquatic habitats, vegetation, fish, or
wildlife, including invertebrates.

Cold Freshwater Habitat (COLD) - Uses of water that support cold water ecosystems
including, but not limited to, preservation or enhancement of aquatic habitats, vegetation, fish, or
wildlife, including invertebrates.

Estuarine Habitat (EST) - Uses of water that support estuarine ecosystems including, but not
limited to, preservation or enhancement of estuarine habitats, vegetation, fish, shellfish, or
wildlife (e.g., estuarine mammals, waterfowl, shorebirds).

Wildlife Habitat (WILD) - Uses of water that support terrestrial or wetland ecosystems
including, but not limited to, preservation and enhancement of terrestrial habitats or wetlands,
vegetation, wildlife (e.g., mammals, birds, reptiles, amphibians, invertebrates), or wildlife water
and food sources.

Preservation of Biological Habitats of Special Significance (BIOL) - Uses of water that
support designated areas or habitats, such as established refuges, parks, sanctuaries,
ecological reserves, or Areas of Special Biological Significance (ASBS), where the preservation
or enhancement of natural resources requires special protection.

Rare, Threatened, or Endangered Species (RARE) - Uses of water that support aquatic
habitats necessary, at least in part, for the survival and successful maintenance of plant or
animal species established under state or federal law as rare, threatened or endangered.



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Migration of Aquatic Organisms (MIGR) - Uses of water that support habitats necessary for
migration or other temporary activities by aquatic organisms, such as anadromous fish.

Spawning, Reproduction, and/or Early Development (SPWN) - Uses of water that support
high quality aquatic habitats suitable for reproduction and early development of fish.

Shellfish Harvesting (SHELL) - Uses of water that support habitats suitable for the collection
of filter-feeding shellfish (e.g., clams, oysters, and mussels) for human consumption,
commercial, or sports purposes.

                                  2.1     SURFACE WATERS
Existing and potential beneficial uses which currently apply to surface waters of the basins are
presented in Figure 2-1 and Table 2-1. The beneficial uses of any specifically identified water
body generally apply to its tributary streams, except as provided below:

       MUN, COLD, MIGR and SPWN do not apply to Old Alamo Creek (Solano County) from
       its headwaters to the confluence with New Alamo Creek

       MUN and the human consumption of aquatic organisms do not apply to Sulphur Creek
       (Colusa County) from Schoolhouse Canyon to the confluence with Bear Creek

In some cases a beneficial use may not be applicable to the entire body of water. In these cases
the Regional Water Board's judgment will be applied.

It should be noted that it is impractical to list every surface water body in the Region. For
unidentified water bodies, the beneficial uses will be evaluated on a case-by-case basis.

Water Bodies within the basins that do not have beneficial uses designated in Table 2-1 are
assigned MUN designations in accordance with the provisions of State Water Board Resolution
No. 88-63 which is, by reference, a part of this Basin Plan, except as provided below:

       Old Alamo Creek (Solano County) from its headwaters to the confluence with New
       Alamo Creek

       Water bodies listed in Appendix 44, Water Bodies That Meet One or More Sources of
       Drinking Water Policy (Resolution 88-63) Exceptions

These MUN designations in no way affect the presence or absence of other beneficial use
designations in these water bodies.

In making any exemptions to the beneficial use designation of MUN, the Regional Board will
apply the exceptions listed in Resolution 88-63 (Appendix Item 8) and the excepted water
bodies will be listed in Appendix 44.

                                   2.2    GROUND WATERS
Beneficial uses of ground waters of the basins are presented below. For the purposes of
assigning beneficial uses, the term ground water is defined in Chapter 1.




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Unless otherwise designated by the Regional Water Board, all ground waters in the Region are
considered as suitable or potentially suitable, at a minimum, for municipal and domestic water
supply (MUN), agricultural supply (AGR), industrial service supply (IND), and industrial process
supply (PRO).

2.2.1      Beneficial Use De-designations
Ground waters at the Royal Mountain King Mine Site are de-designated for MUN and AGR in
the de-designation area shown in Figure 2-2.

In making any exceptions to the beneficial use designation of municipal and domestic supply
(MUN), the Regional Water Board will apply the criteria in State Water Board Resolution
No. 88-63, 'Sources of Drinking Water Policy'. The criteria for exceptions are:

        "The total dissolved solids (TDS) exceed 3,000 mg/l (5,000 &mhos/cm, electrical
        conductivity) and it is not reasonably expected by the Regional Water Board [for the
        ground water] to supply a public water system, or

        "There is contamination, either by natural processes or by human activity (unrelated to a
        specific pollution incident), that cannot reasonably be treated for domestic use using
        either Best Management Practices or best economically achievable treatment practices,
        or

        "The water source does not provide sufficient water to supply a single well capable of
        producing an average, sustained yield of 200 gallons per day, or

        "The aquifer is regulated as a geothermal energy producing source or has been
        exempted administratively pursuant to 40 CFR, Section 146.4 for the purpose of
        underground injection of fluids associated with the production of hydrocarbon or
        geothermal energy, provided that these fluids do not constitute a hazardous waste under
        40 CFR Section 261.3."

To be consistent with State Water Board Resolution No. 88-63 in making exceptions to
beneficial use designations other than municipal and domestic supply (MUN), the Regional
Water Board will consider criteria for exceptions, parallel to Resolution No. 88-63 exception
criteria, which would indicate limitations on those other beneficial uses as follows:

In making any exceptions to the beneficial use designation of agricultural supply (AGR), the
Regional Water Board will consider the following criteria:

        There is pollution, either by natural processes or by human activity (unrelated to a
        specific pollution incident), that cannot reasonably be treated for agricultural use using
        either Best Management Practices or best economically achievable treatment practices,
        or

        The water source does not provide sufficient water to supply a single well capable of
        producing an average, sustained yield of 200 gallons per day, or

        The aquifer is regulated as a geothermal energy producing source or has been
        exempted administratively pursuant to 40 CFR, Section 146.4 for the purpose of
        underground injection of fluids associated with the production of hydrocarbon or
        geothermal energy, provided that these fluids do not constitute a hazardous waste under
        40 CFR Section 261.3.

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In making any exceptions to the beneficial use designation of industrial supply (IND or PRO),
the Regional Water Board will consider the following criteria:

       There is pollution, either by natural processes or by human activity (unrelated to a
       specific pollution incident), that cannot reasonably be treated for industrial use using
       either Best Management Practices or best economically achievable treatment practices,
       or

       The water source does not provide sufficient water to supply a single well capable of
       producing an average, sustained yield of 200 gallons per day .




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          FIGURE 2-1: SURFACE WATER BODIES AND BENEFICIAL USES




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                                                                                                                                                                                                                                        TABLE 2-1
                                          SURFACE WATER BODIES AND BENEFICIAL USES

                                                                           AGRICUL                             INDUSTRY                       RECREATION                             FRESH-     MIGRA-                    SPAW-
                                                                            -TURE                                                                                                    WATER       TION                      NING
                                                                                                                                                                                    HABITAT (2)

               SURFACE WATER BODIES                      MUN                      AGR                      PR IND PO                            REC-1 REC- WARM COLD MIGR                                                  SPWN                WILD NAV
                                                                                                           OC     W                                    2




                                            HYDRO UNIT
                                            NUMBER
                                                         MUNICIPAL AND
                                                         DOMESTIC SUPPLY
                                                                           IRRIGATION
                                                                                        STOCK WATERING
                                                                                                           PROCESS
                                                                                                                     SERVICE SUPPLY
                                                                                                                                      POWER
                                                                                                                                              CONTACT
                                                                                                                                                        CANOEING AND
                                                                                                                                                        RAFTING (1)
                                                                                                                                                                       OTHER
                                                                                                                                                                       NONCONTACT
                                                                                                                                                                                     WARM
                                                                                                                                                                                            COLD
                                                                                                                                                                                                   WARM (3)
                                                                                                                                                                                                              COLD (4)
                                                                                                                                                                                                                         WARM (3)
                                                                                                                                                                                                                                    COLD (4)
                                                                                                                                                                                                                                                WILDLIFE HABITAT
                                                                                                                                                                                                                                                                   NAVIGATION




1      McCLOUD RIVER                        505.              E                                                                       E        E            P             E                 E                                        E             E
2      GOOSE LAKE                           527.2                           E             E                                                    E                          E          E      E                                                      E
       PIT RIVER
3      NORTH FORK, SOUTH FORK, PIT RIVER    526.00            E             E             E                                                    E            P             E          E      E                             E          E             E
4      CONFLUENCE OF FORKS TO HAT CREEK     526.35            E             E             E                                           E        E            E             E          E      E                             E                        E
5      FALL RIVER                           526.41            E             E             E                                           E        E            E             E          E      E                                                      E
6      HAT CREEK                            526.30                          E                                                         E        E                          E          E      E                                        E             E
7      BAUM LAKE                            526.34                                                                                    E        E                          E                 E                                        P             E
8      MOUTH OF HAT CREEK TO SHASTA LAKE    526.              E             E             E                                           E        E            E             E          P      E                             E          E             E
       SACRAMENTO RIVER
9      SOURCE TO BOX CANYON RESERVOIR       525.22                          E             E                                                    E                          E                 E                                                      E
10     LAKE SISKIYOU                        525.22                                                                                             E                          E          E      E                                        P             E
11     BOX CANYON DAM TO SHASTA LAKE        525.2                           E             E                                                    E            E             E                 E                                        E             E
12     SHASTA LAKE                          506.10            E             E                                                         E        E                          E          E      E                             E          E             E
13     SHASTA DAM TO COLUSA BASIN DRAIN                       E             E             E                            E              E        E            E             E          E      E       E          E          E          E             E                E
                                                                                                                                                                                                                                                                                Case 2:20-cv-02482-WBS-AC Document 45-10 Filed 06/28/22 Page 139 of 141




     Notes are located after the table.

     BENEFICIAL USES                                                                                     2-7                                                                                                                           May 2018

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                                                                                                                                                                                                                         TABLE 2-1 (cont’d)
                                          SURFACE WATER BODIES AND BENEFICIAL USES

                                                                           AGRICUL                             INDUSTRY                       RECREATION                             FRESH-     MIGRA-                     SPAW-
                                                                            -TURE                                                                                                    WATER       TION                       NING
                                                                                                                                                                                    HABITAT (2)

               SURFACE WATER BODIES                      MUN                      AGR                      PR IND PO                            REC-1 REC- WARM COLD MIGR                                                   SPWN                WILD NAV
                                                                                                           OC     W                                    2




                                            HYDRO UNIT
                                            NUMBER
                                                         MUNICIPAL AND
                                                         DOMESTIC SUPPLY
                                                                           IRRIGATION
                                                                                        STOCK WATERING
                                                                                                           PROCESS
                                                                                                                     SERVICE SUPPLY
                                                                                                                                      POWER
                                                                                                                                              CONTACT
                                                                                                                                                        CANOEING AND
                                                                                                                                                        RAFTING (1)
                                                                                                                                                                       OTHER
                                                                                                                                                                       NONCONTACT
                                                                                                                                                                                     WARM
                                                                                                                                                                                            COLD
                                                                                                                                                                                                   WARM (3)
                                                                                                                                                                                                              COLD (4)
                                                                                                                                                                                                                          WARM (3)
                                                                                                                                                                                                                                     COLD (4)
                                                                                                                                                                                                                                                 WILDLIFE HABITAT
                                                                                                                                                                                                                                                                    NAVIGATION




14     WHISKEY TOWN RESERVOIR               524.61            E             E             E                                           E        E                          E          E      E                              E                        E
       CLEAR CREEK BELOW WHISKEYTOWN
15     RESERVOIR                            524.62            E             E             E                                                    E            E             E          E      E                  E           E          E             E
16     COW CREEK                            507.3             P             E             E                                           E        E            P             E                 E                  E           E          E             E
17     BATTLE CREEK                         507.12                          E             E                                           E        E            E             E          E      E                  E           E          E             E
18     COTTONWOOD CREEK                     524.3             E             E             E                 P          P              P        E            E             E          E      E                  E           E          E             E
19     ANTELOPE CREEK                       509.63            E             E             E                                                    E                          E          E      E                  E           E          E             E
20     MILL CREEK                           509.42            E             E             E                                                    E                          E          E      E                  E           E          E             E
21     THOMES CREEK                         523.10                          E             E                                           P        E                          E          E      E                  E           E          E             E
22     DEER CREEK                           509.20            E             E             E                                                    E            E             E          E      E                  E           E          E             E
23     BIG CHICO CREEK                      509.14                          E             E                                                    E            E             E          E      E                  E           E          E             E
24     STONY CREEK                          522.00                          E             E                                                    E            E             E          E      P                  E           E          E             E
25     EAST PARK RESERVOIR                  522.33                                                                                             E                          E          E      P                              E                        E
26     BLACK BUTTE RESERVOIR                522.12                          E             E                                                    E                          E          E                                     E                        E
       BUTTE CREEK
27     SOURCES TO CHICO                     521.30            E             E             E                                           E        E                                     E      E                  E           E          E             E
       BELOW CHICO, INCLUDING BUTTE
28     SLOUGH                               520.40                          E             E                                                    E            E                        E      E                  E           E                        E
                                                                                                                                                                                                                                                                                 Case 2:20-cv-02482-WBS-AC Document 45-10 Filed 06/28/22 Page 140 of 141




29     COLUSA BASIN DRAIN                   520.21                          E             E                                                    E            E                        E      P       E                      E                        E

     Notes are located after the table.

     BENEFICIAL USES                                                                                     2-8                                                                                                                            May 2018
                                                                                                          134
                                                                                                                                                                                                                         TABLE 2-1 (cont’d)
                                          SURFACE WATER BODIES AND BENEFICIAL USES

                                                                           AGRICUL                             INDUSTRY                       RECREATION                             FRESH-     MIGRA-                     SPAW-
                                                                            -TURE                                                                                                    WATER       TION                       NING
                                                                                                                                                                                    HABITAT (2)

               SURFACE WATER BODIES                      MUN                      AGR                      PR IND PO                            REC-1 REC- WARM COLD MIGR                                                   SPWN                WILD NAV
                                                                                                           OC     W                                    2




                                            HYDRO UNIT
                                            NUMBER
                                                         MUNICIPAL AND
                                                         DOMESTIC SUPPLY
                                                                           IRRIGATION
                                                                                        STOCK WATERING
                                                                                                           PROCESS
                                                                                                                     SERVICE SUPPLY
                                                                                                                                      POWER
                                                                                                                                              CONTACT
                                                                                                                                                        CANOEING AND
                                                                                                                                                        RAFTING (1)
                                                                                                                                                                       OTHER
                                                                                                                                                                       NONCONTACT
                                                                                                                                                                                     WARM
                                                                                                                                                                                            COLD
                                                                                                                                                                                                   WARM (3)
                                                                                                                                                                                                              COLD (4)
                                                                                                                                                                                                                          WARM (3)
                                                                                                                                                                                                                                     COLD (4)
                                                                                                                                                                                                                                                 WILDLIFE HABITAT
                                                                                                                                                                                                                                                                    NAVIGATION




       COLUSA BASIN DRAIN TO EYE (“I”)
30     STREET BRIDGE                        520.00            E             E                                                                  E            E             E          E      E       E          E           E          E             E                E
31     SUTTER BYPASS                        520.3                           E                                                                  E                                     E                         E                      E             E
       FEATHER RIVER
32     LAKE ALMANOR                         518.41                                                                                    E        E                                     E      E                              E                        E
33     NORTH FORK, FEATHER RIVER            518.4             E                                                                       E        E            E             E                 E                                         E             E
       MIDDLE FORK, FEATHER RIVER
34     SOURCE TO LITTLE LAST CHANCE CREEK   518.35                          E             E                                                    E            E             E          E      E                                         E             E
35     FRENCHMAN RESERVOIR                  518.36                                                                                             E                          E          P      E                                         E             E
       LITTLE LAST CHANCE CREEK TO LAKE
36     OROVILLE                             518.3             E                                                                                E            E             E          E      E                                         E             E
37     LAKE DAVIS                           518.34                                                                                             E                          E          P      E                                         E             E
38     LAKES BASIN LAKES                    518.5                                                                                              E                          E                 E                                         E             E
39     LAKE OROVILLE                        518.12            E             E                                                         E        E                          E          E      E                              E          E             E
       FISH BARRIER DAM TO SACRAMENTO
40     RIVER                                515.              E             E                                                                  E            E             E          E      E       E          E           E          E             E
       YUBA RIVER
41     SOURCES TO ENGLEBRIGHT RESERVOIR     517               E             E             E                                           E        E            E             E                 E                                         E             E
42     ENCLEBRIGHT DAM TO FEATHER RIVER     515.3                           E             E                                           E        E            E             E          E      E       E          E           E          E             E
                                                                                                                                                                                                                                                                                 Case 2:20-cv-02482-WBS-AC Document 45-10 Filed 06/28/22 Page 141 of 141




     Notes are located after the table.

     BENEFICIAL USES                                                                                     2-9                                                                                                                            May 2018
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